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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


 SHERWYN ROCKE, individually and on             Case No.: 1:20-cv-11736-RWZ
 behalf of all others similarly situated,

                               Plaintiff,
                          v.

 MONARCH RECOVERY
 MANAGEMENT, INC.,

                               Defendant.


                                      PROPOSED ORDER

       AND NOW this                    day of            , 20     , upon the submission of

Defendant, Monarch Recovery Management Inc.’s Motion for Summary Judgment pursuant to

Federal Rule of Civil Procedure 56 and Plaintiff, Sherwyn Rocke’s Opposition to Defendant’s

Motion it is hereby ORDERED and DECREED that Defendant’s Motion for Summary Judgment

is GRANTED whereby Plaintiff’s Amended Class Action Complaint is dismissed, with

prejudice.



                                                  By the Court:


                                                  RYA W. ZOBEL
                                                  UNITED STATES DISTRICT JUDGE
